        Case 1:18-cv-02959-BCM Document 134 Filed 05/01/20 Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK

FASHION GROUP, LLC, FUNGYUN, INC. and          )
NYC ALLIANCE COMPANY, LLC,                     )
                                                                                              05/01/2020
                                               )
           Plaintiffs,                         )
                                               )
               v.                              )           Case No. 1:18-cv-02959 (PGG)(BCM)
                                               )
JOHNNY’S SIGNATURE, INC., JOHNNY’S             )
SIGNATURE INT., INC., DEEPAK SAJNANI,          )
BILCO IMPORT & EXPORT, INC., BILCO             )                     STIPULATION OF
INDUSTRIES, INC., BURTON CHEN (a/k/a Billy )                        SETTLEMENT AND
Chen, a/k/a William Chen, a/k/a Zhiquan Chen), )                   ORDER OF DISMISSAL
JERRY LAU and DOUBLE TOP                       )
INTERNATIONAL, INC.                            )
                                               )
           Defendants.                         )


       WHEREAS, plaintiffs Fashion Group, LLC, Fungyun, Inc. and NYC Alliance Company,
LLC (“Plaintiffs”), and defendants Johnny’s Signature, Inc., Johnny’s Signature Int’l., Inc.,
Deepak Sajnani, Bilco Import & Export, Inc., Bilco Industries, Inc., Burton Chen (a/k/a Billy
Chen, a/k/a William Chen, a/k/a Zhiquan Chen), Jerry Lau and Double Top International, Inc.
(“Defendants”) (collectively, the “Parties”) reached a settlement disposing of all claims asserted
in the above-captioned action (the “Action”);
       WHEREAS, none of the Parties to the above-captioned action is an infant or incompetent
person; and
       IT IS HEREBY STIPULATED AND AGREED by and between the Parties, through the
undersigned counsel, as follows:


       1. Pursuant to the parties’ March 25, 2020 Settlement Agreement and Release of Claims,
           the parties hereby agree that the above-captioned action is dismissed and discontinued
           with prejudice, pursuant to Rule 41(a) of the Federal Rules of Civil Procedure.

       2. Any and all of the claims for damages by Plaintiffs which are the subject of the Action
           or otherwise arise out of any of the incidents alleged in the Action are hereby fully
           settled.
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        Case 1:18-cv-02959-BCM Document 134 Filed 05/01/20 Page 2 of 3




       3. Nothing in this So Ordered Stipulation of Settlement shall be construed as an admission
           or concession of liability whatsoever by any of the defendants regarding any of the
           allegations made by the plaintiffs in the Action.

       4. The Stipulation of Settlement and any Order entered thereon shall have no precedential
           value and shall not be admissible in any other action or proceeding as evidence or for
           any other purpose except in an action or proceeding to enforce this Stipulation of
           Settlement.

       5. The undersigned counsel represent and warrant that they are fully authorized to execute
           this stipulation on behalf of the persons and entities indicated below.



Dated: April 29, 2020

JONATHAN FAUST, ESQ.                                           LAZARUS & LAZARUS, P.C.



/s/ Jonathan J. Faust                                          /s/ Harlan M. Lazarus
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Attorneys for Plaintiffs                                       Attorneys for Johnny’s Signature,
                                                               Inc., Johnny’s Signature Int’l., Inc.,
                                                               Deepak Sajnani, Jerry Lau and
                                                               Double Top International, Inc.

KORNFELD & ASSOCIATES, P.C.


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Industries, Inc., Burton Chen (a/k/a Billy Chen,
a/k/a William Chen, a/k/a Zhiquan Chen)

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       Case 1:18-cv-02959-BCM Document 134 Filed 05/01/20 Page 3 of 3




      SO ORDERED:



Dated: New York, New York

       May 1, 2020




            United States Magistrate Judge




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